Case 2:09-cr-00005-JRG-RSP            Document 134        Filed 07/30/09       Page 1 of 2 PageID #:
                                             235



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
VS.                                               §   Case No. 2:09CR5(4)
                                                  §
SHALONDA ROSHEA MOTON                             §
a/k/a SHALONDA ROSHEA GRIGSBY                     §


            FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                 BEFORE THE UNITED STATES MAGISTRATE JUDGE

       Pursuant to 28 U.S.C. § 636(b), this matter has been referred by the District Court for

administration of a plea of guilty and allocution under Rule 11 of the Federal Rules of Criminal

Procedure.

       On July 21, 2009, this cause came before the undersigned United States Magistrate Judge for

a plea of guilty and allocution of the defendant on an information charging the defendant in Count

1 with a violation of 18 U.S.C. § 641, Theft of Public Money - Misdemeanor. After conducting said

proceeding in the form and manner prescribed by Fed. R. Crim. P. 11, the Court finds:

       a.      That the defendant, after consultation with counsel of record, has knowingly and

voluntarily consented to the administration of the Guilty Plea and Allocution in this cause by a United

States Magistrate Judge, subject to a final approval and imposition of sentence by the District Court.

       b.      That the defendant and the government have entered into a plea agreement which has

been filed and disclosed in open court pursuant to Fed. R. Crim. P. 11(e)(2).

       c.      That the defendant is fully competent and capable of entering an informed plea, that

the defendant is aware of the nature of the charges and the consequences of the plea, and that the plea

of guilty is a knowing and voluntary plea supported by an independent basis in fact containing each
Case 2:09-cr-00005-JRG-RSP              Document 134         Filed 07/30/09       Page 2 of 2 PageID #:
                                               236



of the essential elements of the offense.

         d.     That defendant understands her constitutional and statutory rights and wishes to waive

these rights, including the right to a trial by jury and the right to appear before a United States District

Judge.

         IT IS THEREFORE RECOMMENDED that the District Court accept the Plea Agreement and

the Guilty Plea of the defendant and that Shalonda Roshea Moton a/k/a Shalonda Roshea Grigsby

should be finally adjudged guilty of that offense.

         A party's failure to file written objections to the findings, conclusions and recommendations

contained in this Report within ten days after being served with a copy shall bar that party from de

novo review by the district judge of those findings, conclusions and recommendations and, except on

grounds of plain error, from appellate review of unobjected-to factual findings and legal conclusions

accepted and adopted by the district court. Douglas v. United States Auto. Ass’n, 79 F.3d 1415, 1430

(5th Cir. 1996) (en banc).

         SIGNED this 30th day of July, 2009.




                                                         ___________________________________
                                                         CHARLES EVERINGHAM IV
                                                         UNITED STATES MAGISTRATE JUDGE
